2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 1 of 10   Pg ID 408
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 2 of 10   Pg ID 409
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 3 of 10   Pg ID 410
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 4 of 10   Pg ID 411
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 5 of 10   Pg ID 412
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 6 of 10   Pg ID 413
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 7 of 10   Pg ID 414
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 8 of 10   Pg ID 415
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 9 of 10   Pg ID 416
2:12-cv-14696-GER-PJK   Doc # 49-2   Filed 02/11/15   Pg 10 of 10   Pg ID 417
